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            Fannie Mae Single Family/2002 Selling Guide/Part I: Lender Relationships (06/30/02)/I, Chapter 2:
            Contractual Relationship (06/30/02)/I, 201: Mortgage Selling and Servicing Contract (06/30/02)/I, 201:
            Mortgage Selling and Servicing Contract (06/30/02)

          I, 201: Mortgage Selling and Servicing Contract (06/30/02)
          The Mortgage Selling and Servicing Contract establishes the basic legal relationship between a
          lender and Fannie Mae. Specifically, it

              establishes the lender as an approved seller of mortgages and participation interests in
              mortgages to us;
              provides the terms and conditions of those sales;
              establishes the lender as an approved servicer of mortgages we have purchased for our portfolio,
              pools of mortgages in which we have purchased a participation interest for our portfolio, and
              pools of whole mortgages or participation interests that we have securitized to back an MBS
              issue;
              provides the terms and conditions for servicing; and
              incorporates by reference the terms of the Selling Guide, the Servicing Guide, and the Multifamily
              Guide(s).

          The Contract also states the types of mortgages the lender may sell and service for us.

          All of our lender communications—such as guides, announcements, and letters to lenders
          (regardless of the medium through which they are issued)—are instructions we provide to enable a
          lender to perform (as an independent contractor) its obligations to Fannie Mae (as a secondary
          market investor) under the terms of the Mortgage Selling and Servicing Contract. No borrower or
          other third party is intended to be a legal beneficiary of the Mortgage Selling and Servicing
          Contract or to obtain any such rights or entitlements through our lender communications.


            Fannie Mae Single Family/2002 Selling Guide/Part I: Lender Relationships (06/30/02)/I, Chapter 2:
            Contractual Relationship (06/30/02)/I, 201: Mortgage Selling and Servicing Contract (06/30/02)/I, 201.01:
            Lender's Basic Duties and Responsibilities (06/30/02)

          I, 201.01: Lender's Basic Duties and Responsibilities (06/30/02)
          A lender performs its origination and selling functions and its servicing obligations under the
          Contract as an independent contractor, not as an agent or representative of Fannie Mae. We expect
          a lender to use sound business judgment in all aspects of its operations; therefore, we do not
          establish specific requirements regarding the adequacy of the lender's staff or facilities. Our
          principal concern is that the lender have adequate staff and facilities to originate and sell quality
          mortgages; to protect against fraud, misrepresentation, or negligence by any parties involved in
          the mortgage origination and servicing processes; and to provide borrowers with assistance when it
          is requested.

          Our basic philosophy of mortgage lending or servicing does not change on the basis of our lien
          position or whether we purchase a mortgage for our portfolio as a whole mortgage or a
          participation pool mortgage, or whether we securitize a mortgage (or a participation interest in a
          mortgage) in an MBS pool. We require the lender to originate and service all mortgages in a sound,
          businesslike manner; to use good judgment; and to follow the procedures in this Guide and the
          Servicing Guide.

          A lender may use third parties to completely or partially originate, process, underwrite, close, fund,
          or package the mortgages it delivers to us. However, before entering into an agreement with a
          third-party originator, the lender should satisfy itself that the third-party originator is capable of
          producing quality mortgages. To assure that its staff (and any third party originators it uses) are

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          knowledgeable about the various aspects of its mortgage origination and selling policies, the lender
          should have fully documented written procedures and should implement measures (such as
          periodic reviews of mortgage originations) to determine that those procedures are operational.

          We have delegated responsibility for underwriting decisions to each lender with which we do
          business. The lender is responsible for ensuring that the mortgages and participation interests it
          sells to us meet our eligibility requirements. We developed Desktop Underwriter to enable lenders
          to underwrite mortgages faster and more accurately than ever before. Lenders may use Desktop
          Underwriter or they may manually underwrite mortgages by following the underwriting guidelines
          included in this Guide. We will also consider purchasing mortgages that a lender underwrites based
          on its own underwriting criteria (which may or may not include an automated underwriting
          system). However, if the lender's underwriting criteria provide for higher pricing to compensate for
          the increased risk of borrowers who have blemished credit histories, we will not purchase the
          mortgages unless the lender's business practices include policies that are designed to avoid
          predatory lending practices. Regardless of the underwriting method a lender uses, the mortgages
          (or participation interests) delivered to us must conform to the eligibility requirements discussed
          throughout this Guide (to the extent that they have not been amended for mortgages submitted to
          Desktop Underwriter for evaluation).

          A lender cannot transfer its responsibility for servicing Fannie Mae-owned or -securitized mortgages
          unless we approve the transfer. However, as discussed later in this Chapter, we do allow a lender to
          assign servicing concident with delivery of a mortgage or an MBS pool, to use subservicing
          arrangements, or to pledge its servicing rights under certain conditions. In performing its servicing
          duties, a lender must take whatever action is necessary to protect our interest in the security
          property, as long as it is authorized by the terms of the security instrument. More information
          about the overall nature of a lender's servicing responsibilities is presented in Part I, Chapter 2, of
          the Servicing Guide.


            Fannie Mae Single Family/2002 Selling Guide/Part I: Lender Relationships (06/30/02)/I, Chapter 2:
            Contractual Relationship (06/30/02)/I, 201: Mortgage Selling and Servicing Contract (06/30/02)/I, 201.03:
            Nature of Mortgage Sale Transactions (06/30/02)

          I, 201.03: Nature of Mortgage Sale Transactions (06/30/02)
          Every mortgage sale transaction—including those that involve special lender obligations and regular
          servicing option MBS pool mortgages—is expressly intended (by both Fannie Mae and the lender) to
          be construed as the lender's sale of the mortgages and participation interests therein and not as
          the lender's pledge to secure a debt or another obligation. If, however—notwithstanding the
          lender's and Fannie Mae's intent—a court or other appropriate forum holds that the mortgages and
          participation interests included in such transactions are still the lender's property, then it is Fannie
          Mae's and the lender's express intent that the conveyance of the mortgages and participation
          interests be deemed

              a pledge by the lender to Fannie Mae of all related mortgages and all related mortgage
              participation interests to secure a debt or other obligation of the lender, and
              a grant by the lender to Fannie Mae of a first priority perfected security interest in the mortgages
              and participation interests.

          Accordingly, for every mortgage sale transaction—including those involving special lender
          obligations, regular servicing option MBS pool mortgages, and cash deliveries subject to lender
          recourse—the lender grants to Fannie Mae a security interest in all of the lender's right, title, and
          interest in and to each of the mortgages and participation interests delivered, for the purpose of
          securing the lender's performance of all of its obligations under the transaction and under any
          applicable commitments, contracts, or other agreements relating to the transaction, including the
          payment of principal, interest, and other sums due to Fannie Mae under each mortgage and
          participation interest or certificate. The lender and Fannie Mae intend for the conveyance of all

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            Part VIII: Foreclosures, Conveyances, and Claims / VIII, Chapter 1: Foreclosures (01/31/03) / VIII, 102:
            Initiation of Foreclosure Proceedings (09/30/05) / VIII, 102: Initiation of Foreclosure Proceedings (09/30/05)

          VIII, 102: Initiation of Foreclosure Proceedings (09/30/05)
          See Part VIII of the 2010 Servicing Guide

          Generally, foreclosure proceedings for a first mortgage can begin whenever at least three full
          monthly installments are past due. Foreclosure proceedings may begin at once for any mortgage if
          the borrower is not eligible for relief from foreclosure under the Servicemembers Civil Relief Act (or
          any state law that similarly restricts the right to foreclose) and the property has been abandoned or
          vacated by the borrower and it is apparent that the borrower does not intend to make the
          mortgage payments. In addition, foreclosure proceedings for any mortgage may be started
          immediately if

              the borrower was advised in writing of the relief provisions that were available and his or her
              written response indicated a lack of interest in the mortgage obligation (or gave permission for
              the commencement of foreclosure proceedings, if the borrower was subject to the provisions of
              the Servicemembers Civil Relief Act or any state law that similarly restricts the right to foreclose);
              or
              income from rental of the property is not being applied to the mortgage payments and
              arrangements cannot be made to apply it, and it has been established that the borrower is not
              eligible for relief under the Servicemembers Civil Relief Act or any state law that similarly restricts
              the right to foreclose. (also see Part III, Chapter 1, Exhibit 1)

          We require a servicer to contact its servicing consultant or servicing specialist in its lead Fannie Mae
          regional office before it initiates foreclosure proceedings for an eMortgage. If the security property
          is located in a state in which we have Fannie Mae-retained attorneys (or trustees), the servicer
          must use one of the firms we have retained for the state. If we do not have any Fannie
          Mae-retained attorneys (or trustees) designated for the state in which the security property is
          located, the servicer may retain its own attorney, but we will require that attorney to work closely
          with an attorney that we designate.

          Foreclosure proceedings for a second mortgage can begin when at least two full monthly
          installments are past due. As long as the servicer has complied with the requirements of the
          Servicemembers Civil Relief Act and any state law that restricts the right to foreclose, it can start
          foreclosure proceedings for a second mortgage immediately if the first mortgage is in default and
          the second mortgage instrument includes a provision that the second mortgage will be considered
          in default, regardless of the status of its payments, if the first mortgage is in default.

          Fannie Mae is at all times the owner of the mortgage note, whether the note is in our portfolio or
          whether we own it as trustee for an MBS trust. In addition, Fannie Mae at all times has possession
          of and is the holder of the mortgage note, except in the limited circumstances expressly described
          below. We may have direct possession of the note or a custodian may have custody of the note for
          us. If we possess the note through a document custodian, the document custodian has custody of
          the note for our exclusive use and benefit.

          In most cases, a servicer will have a copy of the mortgage note that it can use to begin the
          foreclosure process. However, some jurisdictions require that the servicer produce the original note
          before or shortly after initiating foreclosure proceedings. If our possession of the note is direct
          because the custody documents are at our document delivery facility, to obtain the note and any
          other custody documents that are needed, the servicer should submit a request to our Custody
          Department through the Loan Document Request System (LDRS) on our Web site
          (www.efanniemae.com). If we possess the note through a document custodian that has custody of
          those documents for us, to obtain the note and any other custody documents that are needed, the
          servicer should submit a Request for Release/Return of Documents (Form 2009) to our custodian.
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          In either case, the servicer should specify whether the original note is required or whether the
          request is for a copy.

          In some jurisdictions, only the “holder” of the note may conduct a foreclosure. In any jurisdiction in
          which our servicer must be the holder of the note in order to conduct the foreclosure, we
          temporarily transfer our possession of the note to our servicer, effective automatically and
          immediately before commencement of the foreclosure proceedings. When we transfer our
          possession, our servicer becomes the holder of the note during the foreclosure proceedings. If the
          borrower reinstates the loan or the servicer ceases to service the loan for Fannie Mae for any
          reason, then possession of the note at that time automatically reverts to Fannie Mae and the note
          must be returned to the document custodian. At that time, Fannie Mae also resumes being the
          holder, just as it was before the foreclosure proceedings. The transfer of our possession, and any
          reversion of possession to us, are evidenced and memorialized by our publication of this paragraph.
          This Guide provision may be relied upon by a court to establish that the servicer conducting the
          foreclosure proceeding has possession, and is the holder, of the note during the foreclosure
          proceeding, unless the court is otherwise notified by Fannie Mae.




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